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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                                    CASE NO. 3:25-cr-70-HES-PDB

    NOAH MICHAEL URBAN


                           REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY1

            The Defendant, by consent, has appeared before me pursuant to Fed. R. Crim.

    P. 11 and Local Rule 1.02, and has entered a plea of guilty to Count One of the

    Indictment. After cautioning and examining the Defendant under oath concerning each

    of the subjects mentioned in Rule 11, I determined that the guilty plea was knowing and

    voluntary, and that the offense charged is supported by an independent basis in fact

    containing each of the essential elements of such offense. I therefore recommend that

    the plea of guilty be accepted and that the Defendant be adjudged guilty and have

    sentence imposed accordingly.

          DONE and ENTERED in Jacksonville, Florida on this 4th day of April, 2025.




           The parties have agreed to waive the fourteen (14) day objection period to this Report
            1

    and Recommendation. 28 U.S.C. §636(b)(1)(C).
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    Copies to:
    Honorable Harvey E. Schlesinger
    United States District Judge
    Asst. United States Attorney (Cannizzaro)
    Federal Public Defender (Sheldon)
    United States Pretrial
    United States Probation




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